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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


     BILLJCO, LLC                                       )
                                                        )
     Plaintiff,                                         )
                                                        ) Civil Action No. 2:21-cv-181
     v.                                                 )
                                                        ) JURY TRIAL DEMANDED
     CISCO SYSTEMS, INC.                                )
                                                        )
     Defendant.                                         )
                                                        )
                                                        )
                                                        )
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                                                        )
                                                        )
                             COMPLAINT FOR PATENT INFRINGEMENT



          Plaintiff BillJCo, LLC (“BillJCo” or “Plaintiff”), by its undersigned counsel, for its

Complaint against defendant Cisco Systems, Inc. (“Cisco” or “Defendant”).

I.        NATURE OF THE ACTION

          1.      This is a civil action arising under the patent laws of the United States, 35 U.S.C.

§1 et seq., including 35 U.S.C. §271, based on Cisco’s unauthorized and willful infringing

manufacture, use, sale, offering for sale, and/or importation of methods and products

incorporating BillJCo’s patented inventions.

          2.      BillJCo is owner of all right, title, and interest in and to multiple United States

patents and patent applications including United States Patent Nos. 8,761,804 (the ‘804 Patent);

10,292,011 (the ‘011 Patent); 10,477,994 (the ‘994 Patent) (collectively, “the Patents-in-Suit”).


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         3.    Cisco manufactures, provides, sells, offers for sale, imports, and/or distributes

products and services which directly infringe the Patents-in-Suit. The Patents-in-Suit represent

BillJCo.’s significant investment into the Bluetooth Low Energy (“BLE”) beacon technology

space.

II.      THE PARTIES

         4.    Plaintiff BillJCo, LLC is a Texas limited liability corporation with its principal

place of business located at 1704 Katherine Court, Flower Mound, TX 75022. Bill Johnson is a

member of BillJCo and is the inventor of the Patents-in-Suit and related patents in the patent

portfolio.

         5.    Cisco Systems, Inc. is a Delaware corporation with its principal place of business

at 170 West Tasman Drive, San Jose, California 95134. Cisco may be served through its

registered agent for service in Texas, Prentice Hall Corporation System, 211 East 7th Street,

Suite 620, Austin, Texas 78701-3218.

III.     JURISDICTION AND VENUE

         6.    This is an action for patent infringement, which arises under the Patent Laws of

the United States, in particular, 35 U.S.C. §§ 271, 281, 282, 284, and 285. This Court has

jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331 and 1338(a).

         7.    The Court has personal jurisdiction over Cisco because it has committed acts

giving rise to this action within Texas and within this judicial district. Cisco also regularly does

business or solicits business in this District and in Texas, engages in other persistent course of

conduct, derives substantial revenue from products and/or services provided in this District and

in Texas, has purposefully established substantial, systematic and continuous contacts with this

District, and should reasonably expect to be sued in a court in this District.


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         8.    For example, Cisco has a regular and established place of business in the State of

Texas and in this District, including office spaces located at 2250, 2300, and 2400 East President

George Bush Turnpike, Richardson, Texas 75082. Cisco also conducts business with customers

residing in this District, and offers support service to customers in this District and Texas.

         9.    Cisco has committed acts of patent infringement in this District and elsewhere in

Texas.

         10.   Cisco continues to grow its presence in this District, further cementing its ties to

this District. Cisco operates a website and various advertising campaigns that solicit sales of the

infringing products by consumers in the District and in Texas. Cisco has entered into

partnerships with numerous resellers and distributors to sell and offer for sale the Accused

Products to consumers in this District, both online and in stores, and offers support services to

customers in this District.

         11.   Cisco is registered to do business in Texas and maintains an agent authorized to

receive service of process within Texas. Given these contacts, the Court’s exercise of

jurisdiction over Cisco will not offend traditional notions of fair play and substantial justice.

         12.   Venue is proper in the Eastern District of Texas under 28 U.S.C. §§1391 and

1400(b) because Cisco has an established place of business in this District, including that Cisco

maintains office locations in this District at 2250, 2300, and 2400 East President George Bush

Turnpike, Richardson, Texas 75082, has committed acts within this District giving rise to this

action and resulting in the derivation of substantial revenue from goods and services provided to

customers in Texas, and continues to conduct business in this District, including one or more acts

of selling, using, importing, and/or offering for sale infringing goods and/or performing support

service thereof to Cisco’s customers in this District.


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       13.     Venue is also convenient as BillJCo is a registered Texas Limited Liability

Company located in Denton County and resides within this District. Similarly, BillJCo member

and inventor of the Patents-in-Suit, Mr. Johnson, lives and resides in Denton County within this

District. As such, various evidence and sources of proof relating to the Patents-in-Suit and this

case also are located in and reside in this District and Texas.

IV.    FACTUAL ALLEGATIONS

                            BillJCo’s Technology and Patents-in-Suit

       14.     Beacon technology generally relates to a class of BLE hardware transmitters that

broadcast, among other things, their identifier to nearby electronic devices where different

information can be received, processed, analyzed, and ultimately presented to a user to, for

example, enhance a user’s or customer’s experience.

       15.     The BillJCo patent portfolio includes thirty-three (33) issued and enforceable

United States patents (“the Patent Portfolio”) directed to the beacon technology ecosystem which

have resulted from the innovation, ingenuity, and work of BillJCo member and inventor William

J. Johnson. The Patent Portfolio claims an earliest priority date of March 14, 2008.

       16.     The Patents-in-Suit are part of the Patent Portfolio and relate to specific and

particularized inventions for, and associated with, this beacon technology and the related

protocols and specifications which facilitate and enable aspects of the beacon technology

ecosystem including devices capable of implementing beacon standards and specifications,

manufacturers of beacon transmitting devices, application developers, and beacon deployers. In

particular, the Patents-in-Suit also teach and disclose – among other things – systems and

methods for broadcasting and beaconing related identifiers, applications, and location

information for use within the beacon ecosystem.


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       17.     On June 24, 2014, the ‘804 Patent entitled “System and Method for Location

Based Exchanges of Data Facilitating Distributed Locational Applications” was duly and legally

issued by the United States Patent and Trademark Office. A true and accurate copy of the ‘804

Patent is attached hereto as Exhibit A.

       18.     On May 14, 2019, the ‘011 Patent entitled “System and Method for Location

Based Exchange Network” was duly and legally issued by the United States Patent and

Trademark Office. A true and accurate copy of the ‘011 Patent is attached hereto as Exhibit B.

       19.     On November 19, 2019, the ‘994 Patent entitled “System and Method for

Location Based Exchanges of Data Facilitating Distributed Locational Applications” was duly

and legally issued by the United States Patent and Trademark Office. A true and accurate copy

of the ‘994 Patent is attached hereto as Exhibit C.

       20.     The Patents-in-Suit are valid and enforceable.

       21.     As of the priority date, the inventions as claimed in the Patents-in-Suit were

novel, non-obvious, unconventional, and non-routine.

       22.     BillJCo, LLC is the assignee of and owns all right, title, and interests in the

Patents-in-Suit, including the right to receive a reasonable royalty, and recovery of any and all

other damages for all past and future infringement thereof.

                              Cisco’s Infringing Instrumentalities

       23.     Cisco makes, imports, uses, offers for sale, and sells in the United States devices

that conform, implement, and infringe the Patents-in-Suit. This includes devices that use BLE to

broadcast data packets, in compliance with beacon standards and specifications, to nearby

wireless devices, such as smartphones and tablets, including at least: CiscoWave 2 Access Points

including Aironet 1542/1800/1810/1815//1830/1850/2800/ 3800/4800 series; Cisco Catalyst


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9100/9800 access point series; Cisco USB BLE Beacon devices including AIR-BLE-USB-10

and AIR-BLE-USB-50; and Cisco Beacon Point Module including AIR-RM-VBLE2-K9

(collectively, the “Accused Infringing Instrumentalities”).

        24.     The Accused Infringing Instrumentalities are used to create a communications

system where beacons transmit a series of messages that include data fields arranged in

accordance with the BLE protocol and another device receives such a message and is capable of

receiving data, including location data, contained in the inquiry message.

        25.     In particular, the Accused Infringing Instrumentalities implement certain features

of different beacon specifications and protocols including Apple, Inc.’s iBeacon standard.

        26.     For example, the Accused Infringing Instrumentalities use a standardized

technology data packet consisting of at least the following pieces of information: proximity

universally unique identifier (UUID), Major, Minor.




        27.     Cisco has been aware that it infringes the Patents-in-Suit since at least the filing of

this lawsuit, and Cisco has failed to cease its infringing activities.

        28.     Cisco has infringed, and continues to infringe, claims of the Patents-In-Suit in the

United States by making, using, offering for sale, selling and/or importing the Accused

Infringing Instrumentalities in violation of 35 U.S.C. §271(a).


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       29.       Cisco induces infringement by others of one or more claims of the Patents-in-Suit

in violation of 35 U.S.C. §271(b) in aiding, instructing, promoting, encouraging or otherwise

acting with the intent to cause other parties including customers, developers, and other third-

parties to use its Accused Infringing Instrumentalities. Cisco is aware of the Patents-in-Suit, at

least as of the filing of this lawsuit, and knows or should have known that the inducing acts

described herein constitute infringement of the Patents-in-Suit.

       30.       Cisco takes specific steps to actively induce others—such as, for example

customers, application developers, and third-party manufacturers—to access, use, and develop

programs and applications for the Accused Infringing Instrumentalities and intentionally

instructs infringing use through training videos, demonstrations, brochures, installation and user

guides, such as those located at:

https://www.cisco.com/c/en/us/td/docs/wireless/controller/9800/16-12/config-

guide/b_wl_16_12_cg/ble-beacon.html;

https://www.cisco.com/c/en/us/td/docs/wireless/cmx_cloud/vBLE_HIG/b_ble_hig/b_ble_hig_ch

apter_01.html;

https://www.cisco.com/c/en/us/td/docs/wireless/cmx_cloud/vBLE_HIG/b_ble2_hig/b_ble2_hig_

chapter_01.html.

       31.       Cisco has also infringed, and continues to infringe the Patents-In-Suit by offering

to commercially distribute, commercially distributing, or importing Accused Infringing

Instrumentalities which are used in practicing the processes, or using the systems of the Patents-

In-Suit, and constitute a material part of the invention. Cisco knows portions of the Accused

Infringing Instrumentalities to be especially made or especially adapted for use in infringement

of the Patents-in-Suit, not a staple article, and not a commodity of commerce suitable for


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substantially noninfringing use. Cisco is therefore liable for infringement of the Patents-in-Suit

under 35 U.S.C. §271(c).

       32.     Cisco undertook and continues its infringing actions despite that it knew and/or

should have known that its actions constituted an unjustifiably high risk that its activities

infringed the Patents-in-Suit, which were duly issued by the USPTO, and are presumed valid.

For example, since at least the filing of this action, Cisco has been aware of the unjustifiably

high risk that its actions constituted and continue to constitute infringement of the Patents-in-

Suit, and that the Patents-in-Suit are valid. On information and belief, Cisco could not

reasonably, subjectively believe that its actions do not constitute infringement of the Patents-in-

Suit, and it could not reasonably, subjectively believe that the Patents-in-Suit are invalid.

Despite this knowledge and subjective belief, and the unjustifiably high risk that its actions

constitute infringement, Cisco has continued its infringing activities. As such, Cisco willfully

infringes the Patents-in-Suit.

                    COUNT I: INFRINGEMENT OF THE ‘804 PATENT

       33.     BillJCo incorporates all previous paragraphs by reference as if fully stated herein.

       34.     BillJCo owns all substantial rights, interest, and title in and to the ‘804 Patent,

including the sole and exclusive right to prosecute this action and enforce the ‘804 Patent against

infringers, and to collect damages for all relevant times.

       35.     The ‘804 Patent describes in technical detail each of the limitations of the claims,

allowing a skilled artisan to understand the scope of the claims and how the non-conventional

and non-generic combination of claim limitations is patentably distinct from and improved upon

what may have been conventional or generic in the art at the time of the invention.




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       36.     As set forth in the attached exemplary non-limiting Claim Chart (Exhibit D),

Cisco without authorization or license from BillJCo, has been and is presently directly

infringing, literally or under the doctrine of equivalents, at least one claim of the ‘804 Patent,

pursuant to 35 U.S.C. §271(a), including through making, using, selling, and/or offering for sale

in the United States the Accused Infringing Instrumentalities, and/or importing into the United

States, methods, services, systems, and products made in accordance with the ‘804 Patent. Cisco

is thus liable for direct infringement of the ‘804 Patent pursuant to 35 U.S.C. §271(a).

       37.     Cisco actively induces infringement of at least one claim of the ‘804 Patent by

selling the Accused Infringing Instrumentalities with instructions as to how to use the Accused

Infringing Instrumentalities in a system or method such as recited in the ‘804 Patent. Cisco aids,

instructs, or otherwise acts with the intent to cause an end user to use the Accused Infringing

Instrumentalities. Cisco knew of the ‘804 Patent and knew that its use and sale of the Accused

Infringing Instrumentalities infringe at least one claim of the ‘804 Patent, and Cisco is thus liable

for inducement of the ‘804 Patent pursuant to 35 U.S.C. §271(b).

       38.     Cisco is also liable for contributory infringement of at least one claim of the ‘804

Patent by providing, and by having knowingly provided, a material part of the instrumentalities,

namely the Accused Infringing Instrumentalities, used to infringe at least one claim of the ‘804

Patent. The Accused Infringing Instrumentalities have no substantial non-infringing uses. Cisco

knew that the Accused Infringing Instrumentalities were especially made for use in an infringing

manner prior to the filing of this lawsuit. For at least the reasons set forth above, Cisco

contributes to the infringement of the ‘804 Patent by others.

       39.     To the extent 35 U.S.C. § 287 is determined to be applicable, its requirements

have been satisfied with respect to the ‘804 Patent.


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          40.   BillJCo has been damaged as a result of the infringing conduct by Cisco alleged

above. Thus, Cisco is liable to BillJCo in an amount that compensates it for such infringement,

which by law cannot be less than a reasonable royalty and in an amount yet to be determined.

BillJCo is also entitled to receive such other and further relief, as this Court deems just and

proper.

          41.   BillJCo is further informed, and on this basis alleges, that Cisco’s infringement of

the ‘804 Patent has been and continues to be deliberate and willful, and, therefore, this is an

exceptional case warranting an award of enhanced damages for up to three times the actual

damages awarded and attorney’s fees to BillJCo pursuant to 35 U.S.C. §§ 284-285. As noted

above, Cisco has had knowledge of the ‘804 Patent or at least was willfully blind to its

infringement, as well as related patents and patent applications, and its infringement thereof, and

yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with

reckless disregard for BillJCo patent rights. Thus, Cisco’s infringing actions have been and

continue to be consciously wrongful.

          42.   Cisco’s use of the ‘804 Patent is not licensed or authorized by BillJCo in any way.

BillJCo has not licensed the ‘804 Patent to Cisco.


                    COUNT II: INFRINGEMENT OF THE ‘011 PATENT

          43.   BillJCo incorporates all previous paragraphs by reference as if fully stated herein.

          44.   BillJCo owns all substantial rights, interest, and title in and to the ‘011 Patent,

including the sole and exclusive right to prosecute this action and enforce the ‘011 Patent against

infringers, and to collect damages for all relevant times.

          45.   The ‘011 Patent describes in technical detail each of the limitations of the claims,

allowing a skilled artisan to understand to understand the scope of the claims and how the non-

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conventional and non-generic combination of claim limitations is patentably distinct from and

improved upon what may have been conventional or generic in the art at the time of the

invention.

       46.     As set forth in the attached exemplary non-limiting Claim Chart (Exhibit E),

Cisco without authorization or license from BillJCo, has been and is presently directly

infringing, literally or under the doctrine of equivalents, at least one claim of the ‘011 Patent,

pursuant to 35 U.S.C. §271(a), including through making, using, selling, and/or offering for sale

in the United States the Accused Infringing Instrumentalities, and/or importing into the United

States, methods, services, systems, and products made in accordance with the ‘011 Patent. Cisco

is thus liable for direct infringement of the ‘011 Patent pursuant to 35 U.S.C. §271(a).

       47.     Cisco actively induces infringement of at least one claim of the ‘011 Patent by

selling the Accused Infringing Instrumentalities with instructions as to how to use the Accused

Infringing Instrumentalities in a system or method such as recited in the ‘011 Patent. Cisco aids,

instructs, or otherwise acts with the intent to cause an end user to use the Accused Infringing

Instrumentalities. Cisco knew of the ‘011 Patent and knew that its use and sale of the Accused

Infringing Instrumentalities infringe at least one claim of the ‘011 Patent, and Cisco is thus liable

for inducement of the ‘011 Patent pursuant to 35 U.S.C. §271(b).

       48.     Cisco is also liable for contributory infringement of at least one claim of the ‘011

Patent by providing, and by having knowingly provided, a material part of the instrumentalities,

namely the Accused Infringing Instrumentalities, used to infringe at least one claim of the ‘011

Patent. The Accused Infringing Instrumentalities have no substantial non-infringing uses. Cisco

knew that the Accused Infringing Instrumentalities were especially made for use in an infringing




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manner prior to the filing of this lawsuit. For at least the reasons set forth above, Cisco

contributes to the infringement of the ‘011 Patent by others.

          49.   To the extent 35 U.S.C. § 287 is determined to be applicable, its requirements

have been satisfied with respect to the ’011 Patent.

          50.   BillJCo has been damaged as a result of the infringing conduct by Cisco alleged

above. Thus, Cisco is liable to BillJCo in an amount that compensates it for such infringement,

which by law cannot be less than a reasonable royalty and in an amount yet to be determined.

BillJCo is also entitled to receive such other and further relief, as this Court deems just and

proper.

          51.   BillJCo is further informed, and on this basis alleges, that Cisco’s infringement of

the ‘011 Patent has been and continues to be deliberate and willful, and, therefore, this is an

exceptional case warranting an award of enhanced damages for up to three times the actual

damages awarded and attorney’s fees to BillJCo pursuant to 35 U.S.C. §§ 284-285. As noted

above, Cisco has had knowledge of the ‘011 Patent or at least was willfully blind to its

infringement, as well as related patents and patent applications, and its infringement thereof, and

yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with

reckless disregard for BillJCo patent rights. Thus, Cisco’s infringing actions have been and

continue to be consciously wrongful.

          52.   Cisco’s use of the ‘011 Patent is not licensed or authorized by BillJCo in any way.

BillJCo has not licensed the ‘011 Patent to Cisco.


                   COUNT III: INFRINGEMENT OF THE ‘994 PATENT

          53.   BillJCo incorporates all previous paragraphs by reference as if fully stated herein.



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       54.     BillJCo owns all substantial rights, interest, and title in and to the ‘994 Patent,

including the sole and exclusive right to prosecute this action and enforce the ‘994 Patent against

infringers, and to collect damages for all relevant times.

       55.     The ‘994 Patent describes in technical detail each of the limitations of the claims,

allowing a skilled artisan to understand the scope of the claims and how the non-conventional

and non-generic combination of claim limitations is patentably distinct from and improved upon

what may have been conventional or generic in the art at the time of the invention.

       56.     As set forth in the attached exemplary non-limiting Claim Chart (Exhibit F),

Cisco without authorization or license from BillJCo, has been and is presently directly

infringing, literally or under the doctrine of equivalents, at least one claim of the ‘994 Patent,

pursuant to 35 U.S.C. §271(a), including through making, using, selling, and/or offering for sale

in the United States the Accused Infringing Instrumentalities, and/or importing into the United

States, methods, services, systems, and products made in accordance with the ‘994 Patent. Cisco

is thus liable for direct infringement of the ‘994 Patent pursuant to 35 U.S.C. §271(a).

       57.     Cisco actively induces infringement of at least one claim of the ‘994 Patent by

selling the Accused Infringing Instrumentalities with instructions as to how to use the Accused

Infringing Instrumentalities in a system or method such as recited in the ‘994 Patent. Cisco aids,

instructs, or otherwise acts with the intent to cause an end user to use the Accused Infringing

Instrumentalities. Cisco knew of the ‘994 Patent and knew that its use and sale of the Accused

Infringing Instrumentalities infringe at least one claim of the ‘994 Patent, and Cisco is thus liable

for inducement of the ‘994 Patent pursuant to 35 U.S.C. §271(b).

       58.     Cisco is also liable for contributory infringement of at least one claim of the ‘994

Patent by providing, and by having knowingly provided, a material part of the instrumentalities,


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namely the Accused Infringing Instrumentalities, used to infringe at least one claim of the ‘994

Patent. The Accused Infringing Instrumentalities have no substantial non-infringing uses. Cisco

knew that the Accused Infringing Instrumentalities were especially made for use in an infringing

manner prior to the filing of this lawsuit. For at least the reasons set forth above, Cisco

contributes to the infringement of the ‘994 Patent by others.

          59.   To the extent 35 U.S.C. § 287 is determined to be applicable, its requirements

have been satisfied with respect to the ’994 Patent.

          60.   BillJCo has been damaged as a result of the infringing conduct by Cisco alleged

above. Thus, Cisco is liable to BillJCo in an amount that compensates it for such infringement,

which by law cannot be less than a reasonable royalty and in an amount yet to be determined.

BillJCo is also entitled to receive such other and further relief, as this Court deems just and

proper.

          61.   BillJCo is further informed, and on this basis alleges, that Cisco’s infringement of

the ‘994 Patent has been and continues to be deliberate and willful, and, therefore, this is an

exceptional case warranting an award of enhanced damages for up to three times the actual

damages awarded and attorney’s fees to BillJCo pursuant to 35 U.S.C. §§ 284-285. As noted

above, Cisco has had knowledge of the ‘994 Patent or at least was willfully blind to its

infringement, as well as related patents and patent applications, and its infringement thereof, and

yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with

reckless disregard for BillJCo patent rights. Thus, Cisco’s infringing actions have been and

continue to be consciously wrongful.

          62.   Cisco’s use of the ‘994 Patent is not licensed or authorized by BillJCo in any way.

BillJCo has not licensed the ‘994 Patent to Cisco.


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V.      DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), BillJCo hereby demands a trial by jury

of any and all issues triable of right before a jury.

VI.     PRAYER FOR RELIEF
WHEREFORE, Plaintiff BillJCo respectfully requests that the Court:
        A.      Enter a judgment that Cisco has infringed one or more claims of the Patents-in-
Suit;

        B.      Enter a judgment awarding Plaintiff BillJCo a reasonably royalty and all other
damages adequate to compensate it for Cisco’s infringement of the Patents-in-Suit, including all

pre-judgment and post-judgment interest at the maximum rate permitted by law;

        C.      Declare that the Patents-in-Suit are valid and enforceable;

        D.      Order Cisco to pay damages adequate to compensate BillJCo for Cisco’s
infringement, together with interest and costs under 35 U.S.C. § 284;

        E.      Order Cisco to play supplemental damages to BillJCo, including interest, with an
accounting, as needed;

        F.      Declare this case exceptional pursuant to 35 U.S.C. § 285;

        G.      Declare that Cisco’s infringement is willful and that the damages awarded to
BillJCo should be enhanced up to three times the actual damages awarded;

        H.      Award Plaintiff BillJCo its costs, disbursements, expert witness fees, and
attorneys’ fees incurred in prosecution this action, with interest; and

        I.      Award Plaintiff BillJCo other such and further relief, including equitable relief, as

this Court deems just and proper.



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Dated: May 25, 2021                 Respectfully submitted,

                                    /s/ Brian R. Michalek by permission Claire
                                    Henry
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                                    Attorneys for Plaintiff BillJCo, LLC




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